         Case 1:09-cv-00297-MMS Document 66 Filed 04/19/13 Page 1 of 1




     In The United States Court of Federal Claims
                                            No. 09-297T

                                   (Filed: April 19, 2013)
                                         __________

  PAPILLON AIRWAYS, INC., an Arizona
  Corporation,

                               Plaintiff,

                        v.

  THE UNITED STATES,

                               Defendant.


                                             __________

                                              ORDER
                                             __________

        Pursuant to RCFC 59(f), on or before May 17, 2013, defendant shall respond to
plaintiff’s motion for reconsideration. Defendant’s response shall not exceed 20 pages in length.

       IT IS SO ORDERED.




                                                     s/ Francis M. Allegra
                                                     Francis M. Allegra
                                                     Judge
